Case 1:16-cv-03418-TWP-DML Document 48 Filed 11/14/17 Page 1 of 1 PageID #: 851



                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

 AARON FARRER,                                       )
                                                     )
                              Plaintiff,             )
                                                     )
                         v.                          )     No. 1:16-cv-03418-TWP-DML
                                                     )
 INDIANA UNIVERSITY, et al.                          )
                                                     )
                              Defendants.            )

                              Entry Discharging Show Cause
        The court, having reviewed the return to the order to show cause, hereby determines that

 the show cause issued to plaintiff’s counsel on November 9, 2017 (Dkt. 44), for failure to appear

 for the November 7, 2017 status conference, is DISCHARGED without sanction.

        So ORDERED.


        Date: 11/14/2017
                                             ____________________________________
                                                Debra McVicker Lynch
                                                United States Magistrate Judge
                                                Southern District of Indiana




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